                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


 UNITED STATES OF AMERICA                           )
                                                    )
                                                    )
                                                    )       No. 3:06-CR-136
 V.                                                 )       (PHILLIPS/SHIRLEY)
                                                    )
                                                    )
                                                    )
 ROGER MILLS                                        )

                        ORDER OF DETENTION PENDING TRIAL


               An initial appearance and arraignment were held in this case on November 15,

 2006. W. Brownlow Marsh, Assistant United States Attorney, was present representing the

 government, and Michael McGovern was present representing the defendant. Counsel for

 the defendant stated that the defendant wished to waive his right to a detention hearing at this

 time because he is serving a state sentence but reserved the right to have a detention hearing

 at a later date, if appropriate. Pursuant to the defendant signing a Waiver of Detention

 Hearing, the defendant is to be detained. 18 U.S.C. § 3142(f)(2)(B). The government stated

 it had no objections. The defendant was present. For good cause, and by agreement of the

 defendant, this detention hearing is waived and the defendant is detained.

               The defendant is aware of his rights to a prompt detention hearing and to

 require the government to meet its burden of proving that no conditions of release exist

 which will reasonably assure his appearance in court and the safety of the community. The

 defendant knows that if his detention hearing is waived he will remain in custody while it is


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 continued. The defendant acknowledged in open court that he understands his rights and the

 consequences of waiving his detention hearing.

              For good cause shown, the defendant’s request not to contest, and to waive the

 detention hearing is hereby GRANTED.

              It is therefore ORDERED that:

              (1)    Defendant be detained.;

              (2)    Defendant be committed to the custody of the Attorney
                     General for confinement in a corrections facility separate, to
                     the extent practicable, from persons awaiting or serving
                     sentences or being held in custody pending appeal;

              (3)    Defendant be afforded reasonable opportunity for private
                     consultation with counsel; and

              (4)    On order of a court of the United States or on request of an
                     attorney for the government, the person in charge of the
                     corrections facility in which the defendant is confined
                     deliver the defendant to a United States marshal for the
                     purpose of an appearance in connection with any court
                     proceeding.


                                   ENTER:


                                            s/ C. Clifford Shirley, Jr.
                                          United States Magistrate Judge




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